Case 1:18-cV-21065-KI\/|W Document 7 Entered on FLSD Docket 05/21/2018 Page 1 of 1

j y§g!§rr-:o marger or s§vacE

state of F|erid¢ county of Bau\hem ulstr|et Court

Ceoo Number: 18-CV-21055-KMW

P|olnlifl:
lSLAND FUND MANAGEMENT, lNC., l F|or!da profit corporauon

vs.
Delendent:
RWS. INC., e Ne\rada ourporetl»on, end DAN|EL A. DAN|EL, an lnledue| Nevada resident

For‘. MId!selJ. GollL'l. ill
GRAY ROBINSON, P.A.

Reoewed by Rohert L. Jones, |no. on the 25th day of Apr|l, 2018 el 1:¢`1'.1r pm w be served on RW&, lNC., 010 AMER!CAN

l§(`hORE?RA`noN SER\\'|CEB, lNC-, REGISTERED AGENT‘ 758'| w°l-ET vlSTA AVE, #1°1, LM VEGAS "V`ag'lao. l,
0 |"| , dc hereby affirm tritonthe 12th day of MSI .20 159,!11 :Usa.m., executed service

by deweer a true copy er me summons m A crer Ac'rron; compuunr; means A a é';Ewn.”E:“ovER sHEET rn
accordance with slate stems |n the manner marked below:

( } INDMDUAL SERV|CE:SeMoe accepted by me records custodian
omnpany by delivering o true oopy.
}PUBLlC AGENGY: By serving as ofthe within named ager-rr:r.rl
{) SUBST!TUTE SERV|CE: By sewing as
.Aulhorlzod to e¢oepl

10 CORPO|R:\TE SERV|C|§: By sam _Ame.rjnan_|mnl:pnratlon-SE|°-¢oes, |nc. as
__._B§Q_§.§.F_C`_Q_AQ§!J .
<)OTHER sEvacE As described in the commence below by eenrlng ea

'( j NoN'§ER\ncE' : FTrr rhe"' re' eee'n"dererreo rn ore commence helm

dysonan lhe wl£hh'r named

 

 

 

 

 

 

l codify that lern over the age of 18, thall am note party to nor lnreresrec| in the outcome of the above entliled eui\, and that l have
proper authority h the jurisdiction rn wh|oh this service-wes mede. Undsr pemIry al perjury. l declare shaw l have read me foregoing and
that the lacte stated In it are lrue (F.S. 92.526}.

/ - ( /
ESS VER # -
A rn accordance with State Ste

Rohert.L.. .lones, lnc.

P.G- Box 6415

C|elrwatar, FL 33?58-!418
ryan 442-mo

Our Job Ser‘lel Numbel': 2018005858

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